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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                       CASE NO: 22-14102-CIV-MIDDLEBROOKS/REINHART

   DONALD J. TRUMP,

                    Plaintiff,
   v.

   HILLARY R. CLINTON, et al.

               Defendants.
   ___________________________/


        RESPONSE IN OPPOSITION TO UNITED STATES’ MOTION TO PRECLUDE
                      THE FURTHER FILING OF ADDRESSES
          OF FORMER FEDERAL BUREAU OF INVESTIGATION EMPLOYEES

           The Defendant, DONALD J. TRUMP, by and through his undersigned attorneys, hereby

   files his Response in Opposition to the United States’ Motion to Preclude the Further Filing of

   Addresses of Former Federal Bureau of Investigation Employees with Permission to File Redacted

   Versions of Any Offending Documents (hereinafter the “Motion”) [D.E. 84], and in opposition

   thereto state:

           No one in their right mind would want to see harm befall any FBI agents, presently active,

   or retired, not only including the former President of the United States, but especially the former

   President. In this regard, his undersigned attorneys, after realizing the issue when the summonses

   were filed, gave permission to the government attorneys to make it clear that the Motion to Redact

   was unopposed.

           Through that time, as obvious as it should have been to all of the attorneys, no mention was

   made of handling the returns of service, and the addresses of two of the agents were again put in the

   public record. At this point, there are 2 former agents, the service of service of process remaining to




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   be served, returned, and filed. The undersigned has made it well understood to the people in his

   office who file materials in the Court that no such filings are to be made again. The certainty is now

   there, that no such filings will be made, going forward.

           The President, through his undersigned attorney, though, does object to an order being filed,

   in that his attorney should be trusted to do whatever is necessary to protect sensitive information

   from being released, and one who is not a threat should not be enjoined in any way. No order is

   required.

           The fact that no one gave consideration when the subpoenas were filed to the confidential

   addresses of the agents or when the first returns of service were filed, does not mean that further

   filings would be made with their addresses, now that all have been alerted to the situation.

           More, even if a mistake were to be made again, there has never been any hesitation in being

   able to quickly secret them. In fact, the undersigned has given permission to the attorney for the

   government to file any motion he should want to seal or redact, and that he has perpetual agreement,

   so that there is no need to confer.

           However, the most important reason to not issue an issue forbidding the filing of the

   addresses of the former FBI agents is that these addresses are not secret, at all, in any event. It

   literally took the assistant in The Ticktin Law Group less than 5 minutes to obtain each of the

   addresses which the government now wants to protect.

           The government has made no effort to close all of the other channels in which the addresses

   are available. Instead, it is left totally accessible on the internet. Apparently, the former agents do

   not have the same concerns as most active agents to assure confidentiality of their addresses, as each

   of them is taking no action to prevent others from getting their addresses.




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          To now decide that the attorneys for the Plaintiff, be ordered to not file the addresses, which

   they are not filing, anyway, and which could easily be removed without objection, would be similar

   to having the captain of the Titanic locking the door to his wheelhouse to stop the ship from sinking.

          Additionally, it must be considered that the United States is not a party to this action, yet

   it has been freely filing documents in this case regarding the summonses and related redactions.

   The last word from the movant is that he is not filing a notice of appearance as his clients have not

   been served yet.

          The United States should not be permitted to expend any of this Court’s precious time in

   filing an unnecessary motion.

          As such, the Plaintiff opposes this Motion, which seeks relief which is not necessary and

   has no true benefit.

          WHEREFORE, the Defendant respectfully requests the Court deny the United States’

   Motion to Preclude the Further Filing of Addresses of Former Federal Bureau of Investigation

   Employees.




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                                         CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed this 28th

   day of April, 2022, with the Clerk of Court using CM/ECF, which will send a notice of electronic filing to

   all Parties listed on the Service List.


       /s/ Peter Ticktin____

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